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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                               CIVIL ACTION NO. 2:06CR154-MPM-EMB

CARL D. CRAFT, Et. Al.


                                             ORDER

       BEFORE THE COURT is the motion [doc. 142] of Defendant Carl D. Craft for “telephone

assistance.” The Court, having duly considered the motion and the record, is of the opinion that the

motion should be stricken.

       On January 22, 2007, Craft filed the instant letter motion under his own signature, seeking

assistance from this Court because he is not satisfied with the requirements for use of the phone

system at the Lafayette County Detention Center where he is currently housed. As an initial matter,

this Court is generally not obliged to interfere with the administration of prisons. Furthermore,

defendant is represented by appointed counsel herein. A defendant may appear pro se or by counsel,

but has no right to appear partly by himself and partly by counsel. United States v. Shea, 508 F.2d

82 (5th Cir. 1975). Accordingly, the instant motion is hereby STRICKEN from the record.



       SO ORDERED this 2nd day of March, 2007.



                                                                   /s/ Eugene M. Bogen
                                                                   U. S. MAGISTRATE JUDGE
